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                                                                        UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                   6      IN RE: LITHIUM ION BATTERIES                   Case No.: 13-MD-2420 YGR
                                          ANTITRUST LITIGATION
                                   7                                                     ORDER DENYING AS PREMATURE
                                                                                         DEFENDANT MAXWELL CORPORATION OF
                                   8                                                     AMERICA’S REQUEST FOR A SUMMARY
                                          This Order Relates to:
                                                                                         JUDGMENT PRE-FILING CONFERENCE
                                   9
                                          All Direct and Indirect Purchaser
                                          Actions                                        Re: Dkt. No. 939
                                  10

                                  11
Northern District of California




                                  12          Defendant Maxwell Corporation of America (“MCA”) filed a request for a pre-filing
 United States District Court




                                  13   conference, seeking to file an early motion for summary judgment on November 18, 2015. (Dkt.
                                  14   No. 939.) Plaintiffs filed a letter opposing the request. (Dkt. No. 947-3.) The Court finds that a
                                  15   pre-filing conference and early summary judgment motion is inappropriate at this juncture, prior to
                                  16   the close of fact discovery, on the grounds raised in MCA’s letter. Thus, the request is DENIED
                                  17   WITHOUT PREJUDICE as premature.
                                  18          IT IS SO ORDERED.
                                  19   Dated: November 16, 2015                        _______________________________________
                                                                                               YVONNE GONZALEZ ROGERS
                                  20                                                      UNITED STATES DISTRICT COURT JUDGE
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